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                    UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MISSOURI

                          COURTROOM MINUTE SHEET
                             CIVIL PROCEEDINGS

Date August 25, 2016            Case No. 4:15CV212 ERW

Jeremey Eden
_________________________________ v. Vaughan, et al.,

Judge E. Richard Webber

Court Reporter R. Fiorino                Deputy Clerk M. Berg

Attorneys for Plaintiff(s) Samuel Henderson

Attorneys for Defendant(s) Robert Isaacson


Parties present for Final Pre-Trial Conference. Court and counsel
discussed motions in limine. The Court made rulings on the record.
Jury Trial set for Tuesday, September 6, 2016 at 8:30 a.m. in
Courtroom 3 North.




Attorneys Present : _____________________________

Proceedings commenced:        9:11

Proceedings concluded:        10:30
